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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,               )       Case No. 8:12-CR-00311-JFB-FG3-2
                                        )
             Plaintiff,                 )
                                        )
vs.                                     )       ORDER EXTENDING TIME
                                        )       FOR VOLUNTARY SURRENDER
DYLAN PATTERSON,                        )
                                        )
             Defendant.                 )


      This case comes before the Court on the Motion of Defendant to extend his

designated time for voluntary surrender to the Bureau of Prisons.          Adam Sipple

appeared on behalf of Defendant. Assistant U.S. Attorney Kim Bunjer appeared on

behalf of Plaintiff. Both parties were heard. The Court finds the motion should be

sustained.

      IT IS THEREFORE ORDERED that the date for Defendant, Dylan Patterson, to

surrender to the facility designated by the Bureau of Prisons is extended to 2:00 p.m.,

April 30, 2014.

       SO ORDERED this 28th day of February, 2014.


                                                BY THE COURT:


                                                s/ Joseph F. Bataillon
                                                United States District Judge




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